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                         Exhibit 5
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-8209 PA (MRWx)                                         Date     October 10, 2018
 Title             Daniel Robinson, et al. v. Mortgage Electronic Registration Systems, Inc.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                          N/A
                 Deputy Clerk                             Court Reporter                       Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                 None
 Proceedings:                 IN CHAMBERS — COURT ORDER

        Plaintiffs Daniel Robinson, Darla Robinson, and Miguel Cabrera have filed a Notice of
Dismissal Under Federal Rule of Civil Procedure 41(a)(1), in which plaintiffs seek to dismiss
their action without prejudice. Because defendant has not filed an Answer or Motion for
Summary Judgment, plaintiffs may voluntarily dismiss their action without a court order. See
Fed. R. Civ. P. 41(a)(1)(i). The Court therefore dismisses this action without prejudice.
Defendant’s Motion to Dismiss (Docket No. 11) is denied as moot.

         IT IS SO ORDERED.




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